      Case 2:17-cv-06197-EEF-MBN Document 199 Filed 07/09/20 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



ADRIAN CALISTE and BRIAN
GISCLAIR, individually and on behalf of all
others similarly situated,
                                                     Case No. 2:17-cv-06197-EEF-MBN
       Plaintiffs,

v.

HARRY E. CANTRELL, Magistrate Judge
of Orleans Parish Criminal District Court,

       Defendant.


                                           ORDER

       Upon consideration of Plaintiffs’ Unopposed Motion to Extend Submission Date, it is

ORDERED that the motion is GRANTED and the submission date for their Renewed Motion for

Rule to Show Cause Why Defendant Cantrell Should Not Be Held in Contempt (ECF No. 184)

shall be set for July 22, 2020.



        New Orleans, Louisiana this 9th day of July, 2020.




                                              ______________________________
                                              Eldon E. Fallon
                                              United States District Judge
